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 6 Attorneys for Proposed General Bankruptcy
   Counsel for Jinzheng Group (USA) LLC, Debtor
 7 in Possession

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                       LOS ANGELES DIVISION
11

12 In re                                                   Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                               Chapter 11

14                     Debtor.                             DEBTOR’S NOTICE OF MOTION AND
                                                           MOTION FOR ORDER APPROVING
15                                                         COMPROMISE BETWEEN DEBTOR
                                                           AND 150 LA SIERRA LLC;
16                                                         MEMORANDUM OF POINTS AND
                                                           AUTHORITIES, DECLARATIONS OF
17                                                         ZHAO PU YANG, ZEV SHECHTMAN,
                                                           STEPHEN ENG, AND REQUEST FOR
18                                                         JUDICIAL NOTICE IN SUPPORT
                                                           THEREOF
19
                                                           Date:   To Be Set By Court
20                                                         Time:   To Be Set By Court
                                                           Crtrm.: 1568
21                                                                 255 E. Temple Street
                                                                   Los Angeles, California 90012
22

23            PLEASE TAKE NOTICE that at a date and time to be determined by the Court,

24 Jinzheng Group (USA) LLC (the “Debtor”), will and hereby does move the Court pursuant to Rule

25 9019 of the Federal Rules of Bankruptcy Procedure (the “Motion”), for an order approving the

26 Debtor’s compromise with 150 La Sierra LLC (“La Sierra”).

27            Subject to Court approval, the Debtor and La Sierra have entered into a settlement

28 agreement (the “Agreement”) to resolve their dispute regarding the alleged fraudulent transfer,

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 1 from the Debtor to La Sierra, of real property located at 150 East La Sierra Drive, Arcadia, CA

 2 91006 (the “Property”). A copy of the Agreement is attached as Exhibit “1” to the declaration of

 3 Zhao Pu Yang. The Agreement provides, among other things, that:

 4            1.       Right, title, and interest to the Property shall be transferred from La Sierra to the

 5 Debtor effective immediately upon the Court’s entry of an order granting this Motion;

 6            2.       The transfer described in paragraph 1 shall be without prejudice to the rights of any

 7 creditors of La Sierra or any lienholders in the Property;

 8            3.       If the Debtor’s bankruptcy case is dismissed prior to the sale of the Property, the

 9 Property shall revert to La Sierra; and

10            4.       The Debtor shall release La Sierra, and no other party, from liability for avoidance,

11 recover and turnover of transfers under sections 542, 544, 547, 548 and 550 of the Bankruptcy

12 Code and applicable state law, which releases shall be withdrawn in the event of a dismissal and

13 reversion as provided in paragraph 3.

14            The Debtor believes that the terms of the Agreement are in the best interest of the estate and

15 its creditors, and should be approved by the Court.

16            The Debtor is requesting that the Motion be heard on shortened time because the Property is

17 subject to a notice of default recorded for the benefit of the senior secured creditor, Sound Equity

18 Inc. (“Sound”), on April 5, 2022. Sound has informed the Debtor that Sound intends to foreclose

19 on the Property as soon as possible, which may be as soon as on or after August 3, 2022 (120 days

20 after April 5, 2022). The Debtor believes that there is substantial equity in the Property and that the

21 Debtor and its estate will lose that value in the event of foreclosure. La Sierra is listing the

22 Property for sale and, if the Property is not sold before the transfer herein is approved, the Debtor

23 will continue listing the Property immediately upon the approval of the transfer to the Debtor.

24 Sound will not be prejudiced because its secured claim will be paid in full through any sale by the

25 Debtor.

26            The Motion is based upon the Notice of Motion and Motion, the Memorandum of Points

27 and Authorities, the Declarations of Zhao Pu Yang, Zev Shechtman and Stephen Eng, and the

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 1 Request for Judicial Notice filed herewith, the papers and pleadings on file in this case, and such

 2 other evidence as may be presented to the Court.

 3            PLEASE TAKE FURTHER NOTICE that the Court will set the hearing and a deadline
 4 for parties to object to the relief sought in accordance with the Debtor’s contemporaneously filed

 5 Application for Order Setting Hearing on Shortened Notice. The Debtor will give notice of the

 6 hearing and deadlines as required by the Court.

 7            If the Court sets a deadline for written oppositions, any party seeking to object to the relief

 8 sought must, not later than that date file a written opposition with the Clerk of the Court and serve

 9 copies of the opposition upon the Debtor’s counsel (electronic service, including via email to the

10 undersigned counsel, is requested) and upon the Office of the United States Trustee, 915 Wilshire

11 Blvd., Suite 1850, Los Angeles, California 90017. Failure to file and serve oppositions as set forth

12 above may be deemed consent to the relief sought in the motion. If you do not have any objection

13 to the motion, you need not take any further action.

14

15 DATED: July 5, 2022                            DANNING, GILL, ISRAEL & KRASNOFF, LLP

16

17
                                                  By:          /s/ Alphamorlai L. Kebeh
18                                                      ALPHAMORLAI L. KEBEH
                                                        Attorneys for Proposed General Bankruptcy
19                                                      Counsel for Jinzheng Group (USA) LLC, Debtor
                                                        in Possession
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 1                             MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                      I.
 3                                         FACTUAL SUMMARY
 4 A.         Bankruptcy Facts
 5            On August 24, 2021 (the “Petition Date”), Jinzheng Group (USA) LLC (the “Debtor”), filed

 6 a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor continues in

 7 possession of its property and is operating and managing its business as a debtor in possession

 8 pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has been

 9 appointed in the Debtor’s Chapter 11 Case.

10

11 B.         150 La Sierra, LLC
12            On or about December 18, 2019, 150 La Sierra LLC, a California Limited Liability

13 Company (“La Sierra”), was organized. A copy of Sierra’s Articles of Organization is attached

14 hereto as Exhibit “2.” On December 24, 2019, an operating agreement was signed whereby the

15 Debtor received a 79% interest in La Sierra. Per the operating agreement, the remaining 21%

16 interest was assigned to The Code Solution LLC (“TCS”).

17

18 C.         The Subject Property
19            On or about January 23, 2020, the Debtor’s interest in real property located at 150 East La

20 Sierra Drive, Arcadia, CA 91006 (the “Property”) was transferred to La Sierra. The Debtor is

21 informed and believes that the transfer was not for reasonably equivalent value. A copy of the deed

22 from the Debtor to La Sierra is attached to the Request for Judicial Notice as Exhibit “3.” On the

23 same date, Sound Equity Inc. (“Sound”) recorded a deed of trust (the “Deed of Trust”) against the

24 Property to secure Sound’s construction loan to La Sierra with respect to the Property. A copy of

25 the Deed of Trust is attached to the Request for Judicial Notice as Exhibit “4.” According to the

26 Deed of Trust, the principal amount loaned to the Debtor by Sound was $2.34 million (the “Loan”).

27 The funds from the loan were primarily used to satisfy the then-existing liens on the Property and

28 pay for construction on the Property. The Property is now a partially built home. The Debtor is

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 1 informed and believes that the payoff amount on the Property demanded by Sound is

 2 $1,797,884.87 as of July 15, 2022. Exhibit “7” to the Declaration of Zev Shechtman is a copy of

 3 the payoff demand from Sound. The Debtor is informed that there are certain unused funds

 4 remaining from the original loan as part of a construction holdback budget, which, according to

 5 Sound, La Sierra “could draw from when the loan was performing.” This may explain the

 6 discrepancy between the original loan amount of $2.34 million and the balance due of roughly $1.8

 7 million.

 8

 9 D.         La Sierra’s Default
10            On April 5, 2022, Sound assigned the Deed of Trust to Sound Equity High Income Debt

11 Fund, LLC, ISAOA (“Sound Debt Fund”). A copy of the recorded assignment is attached to the

12 Request for Judicial Notice as Exhibit “5.” On the same date, Sound Debt Fund recorded a notice

13 of default as to the Property. A copy of the notice of default is attached to the Request for Judicial

14 Notice as Exhibit “6.” Per the notice of default, Sierra needed to pay $127,551.38 to cure the

15 default on its loan or otherwise face foreclosure on the Property. Currently, the amount owed to

16 Sound under the Loan is approximately $1,797,884.87. See Exhibit “7.” The Debtor is informed

17 that, in its current state, the Property’s market value is estimated in excess of $2.5 million. In its

18 efforts to bring equity back into the bankruptcy estate, the Debtor has attempted to negotiate with

19 Sound to postpone foreclosure on the Property so that the La Sierra or the Debtor may market it,

20 sell it, and use the proceeds to satisfy the delinquent amount on the Loan. See declaration of Zev

21 Shechtman. However, Sound did not agree to postponing foreclosure and, based on the date of the

22 notice of default, may foreclose on the Property as early as on or after August 3, 2022 (120 days

23 after April 5, 2022). Pursuant to the terms of the Agreement, Sierra will transfer the Property back

24 to the Debtor to ensure that its value is not lost to the estate.

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 1 E.         The Dispute
 2            On May 4, 2020, the Debtor filed its Debtor’s Combined Plan of Reorganization and

 3 Disclosure Statement Dated May 4, 2022 (docket no. 204) (the “Plan and Disclosure Statement”).

 4 In the Plan and Disclosure Statement, the Debtor states:

 5            The Debtor is investigating a potential claim against 150 Sierra LLC for recovery of
              the property commonly known as 150 East La Sierra Drive, Arcadia, CA 91006,
 6            which was transfer by the Debtor to 150 Sierra LLC for no consideration on January
              23, 2020. 150 Sierra LLC is a California limited liability company owned jointly by
 7            the Debtor and The Code Solutions LLC (an entity related to Betula Lenta LLC).

 8 See docket no. 204 at ECF p. 15, lines 13-15. Although the Debtor has withdrawn the Plan and

 9 Disclosure Statement, the Debtor has not changed its position regarding the Property. Accordingly,

10 a dispute exists between the Debtor and La Sierra to the extent that the Debtor believe that there

11 may have been one or more avoidable transfers, and La Sierra, TCS, Sound, or another party, may

12 dispute that the transfer to La Sierra is avoidable (the “Dispute”).

13

14 F.         Proposed Settlement
15            To avoid, among other things, the costs, risks, and uncertainties of litigation, the Debtor and

16 La Sierra have entered into the Agreement, a copy of which is attached as Exhibit “1,” subject to

17 Court approval. Without modifying in any respect the terms set forth therein, the Agreement’s

18 terms include:

19            1.       Right, title, and interest to the Property shall be transferred from La Sierra to the

20 Debtor effective immediately upon the Court’s entry of an order granting this Motion;

21            2.       The transfer described in paragraph 1 shall be without prejudice to the rights of any

22 creditors of La Sierra or any lienholders in the Property;

23            3.       If the Debtor’s bankruptcy case is dismissed prior to the sale of the Property, the

24 Property shall revert to La Sierra; and

25            4.       The Debtor shall release La Sierra, and no other party, from liability for avoidance,

26 recover and turnover of transfers under sections 542, 544, 547, 548 and 550 of the Bankruptcy

27 Code and applicable state law, which releases shall be withdrawn in the event of a dismissal and

28 reversion as provided in paragraph 3.

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 1                                                       II.
 2                                            LEGAL ARGUMENT
 3 A.         Standards for Approval of Compromise
 4            Inherent in the grant of jurisdiction to the district courts over all civil proceedings arising

 5 under, arising in or related to cases under title 11 is the Court’s authority, under Section 105(a) of

 6 the Bankruptcy Code, to enter orders approving compromises. This power is expressly recognized

 7 in Bankruptcy Rule 9019(a), which provides that the Court may approve a compromise or

 8 settlement on motion by the trustee after notice is provided pursuant to Bankruptcy Rule 2002. The

 9 approval of a compromise is a “core proceeding” under 28 U.S.C. § 157(b)(2)(A) and (O). In re

10 Carla Leather, Inc., 50 B.R. 764, 775 (Bankr. S.D.N.Y. 1985).

11            The approval or rejection of a proposed compromise is addressed to the sound discretion of

12 the Court and is to be determined by the particular circumstances of each case. In re Walsh

13 Construction, Inc., 669 F.2d 1325, 1328 (9th Cir. 1982). The burden of establishing the fairness of

14 the compromise rests on the proponent, here, the Trustee.

15            In determining the acceptability of a proposed compromise, the following four factors

16 should be considered: (1) the probability of success in the litigation; (2) the difficulties, if any,

17 encountered in the matter of collection; (3) the complexity of the litigation involved, the expense,

18 inconvenience and delay necessarily attending it; and (4) the paramount interest of the creditors and

19 a proper deference to their reasonable views. In re A & C Properties, 784 F.2d 1377, 1381 (9th

20 Cir. 1986); Flight Transportation Corporation Securities Litigation, 730 F.2d 1128, 1135 (8th Cir.

21 1984). This Court is not required to decide the questions of law and fact in dispute, but to canvas

22 the issues to see whether the “settlement falls below the lowest point in a range of reasonableness.”

23 In re Teletronics Services, Inc., 762 F.2d 185, 189 (2d Cir. 1985) (quoting In re W.T. Grant Co.,

24 699 F.2d 599, 608 (2d Cir. 1983)).

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 1 B.         The Agreement is in the Best Interest of the Estate and Should be Approved under
 2            Bankruptcy Rule 9019
 3            The Debtor believes that the Agreement is fair and reasonable, in the best interest of the

 4 estate and its creditors, and satisfies the standards for approval of a settlement. With respect to the

 5 factors set forth in A & C Properties, the Debtor believes that the Agreement should be approved

 6 for the reasons discussed below.

 7

 8            1.       The Probability of Success in Litigation
 9            Absent the proposed agreement, the Debtor may have to litigate the estate’s claims against

10 La Sierra. While the Debtor is a managing member, TCS has a minority interest and could

11 possibly object to the proposed transfer of the Property. Further, Sound, as a secured creditor of La

12 Sierra, may object to the transfer. In order to prevail in this litigation, the Debtor would have to

13 prove either that the transfer was made with actual intent to hinder delay or defraud creditors of the

14 Debtor, or that the transfer was for less than reasonably equivalent value and the Debtor:

15            (I) was insolvent on the date that such transfer was made or such obligation was
              incurred, or became insolvent as a result of such transfer or obligation;
16
              (II) was engaged in business or a transaction, or was about to engage in business or
17            a transaction, for which any property remaining with the debtor was an
              unreasonably small capital;
18
              (III) intended to incur, or believed that the debtor would incur, debts that would be
19            beyond the debtor’s ability to pay as such debts matured; or

20            (IV) made such transfer to or for the benefit of an insider, or incurred such
              obligation to or for the benefit of an insider, under an employment contract and not
21            in the ordinary course of business.

22 11 U.S.C. § 548(a). While the Debtor currently has evidence that the property was not for

23 reasonably equivalent value, the Debtor is informed that TCS has asserted that there was value

24 given to the Debtor. The Debtor has not completed its investigation regarding other factors,

25 including insolvency. Normally, pursuant to 11 U.S.C. § 546, the Debtor would have two years

26 from the petition date to complete this legal and accounting analysis. Unfortunately, however, the

27 imminent foreclosure by Sound requires quick action. If Sound forecloses, La Sierra will no longer

28 have the Property for the Debtor to recover. The inability to effectively litigate this matter in a

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 1 timely manner militates toward an immediate compromise as requested by the Debtor. La Sierra

 2 recognizes that a transfer to the Debtor will protect the equity in the Property from immediate

 3 foreclosure. A refusal to transfer the Property to the Debtor would result in a total loss to both La

 4 Sierra and the Debtor.

 5

 6            2.       Difficulties in Collection
 7            The Debtor is a managing member of Sierra. Upon approval of the Agreement, the Debtor

 8 would not face any difficulty in effectuating the transfer of the Property back to the Debtor.

 9

10            3.       Complexity, Expense, Inconvenience, and Delay of Litigation
11            While the issues encompassed by the Dispute are not overly complex, they could require

12 significant factual investigation. Not only would such investigation impose expenses on the estate,

13 it could require a significant amount of time to complete. The subsequent litigation could require

14 even more time to resolve and substantially increase the costs incurred by the estate. The Property

15 could be foreclosed upon as early as or after August 3, 2022, less than one month the date of the

16 filing of this Motion, and as little as two weeks after the proposed hearing on the Motion. The

17 Debtor likely does not have the time to complete a thorough factual investigation and litigate the

18 issues underlying the dispute before La Sierra is stripped of its interest in the Property. Thus, this

19 factor weighs in favor of settlement.

20

21            4.       Interest of Creditors
22            The Agreement reached by the Debtor and La Sierra serves the paramount interest of

23 creditors. It will result in a transfer back of the Property to the Debtor, who could then market it

24 and sell it pursuant to a motion under section 363 of the Bankruptcy Code. Based on the current

25 status of the Property, a sale could bring a significant recovery into the estate for the benefit of

26 creditors. Without approval of the Agreement, recovering the Property is likely impossible, as it

27 would likely be foreclosed upon before the Debtor could practicably litigate and resolve the issues

28 raised in the dispute.

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 1                                                      III.
 2                                               CONCLUSION
 3            Based upon the foregoing, the Debtor respectfully requests that the Court:

 4            1.       Enter an order granting the motion substantially in the form of Exhibit “8” hereto

 5 immediately after the hearing;

 6            2.       Approve the Agreement, a copy of which is attached to the Declaration of Zhao Pu

 7 Yang as Exhibit “1”;

 8            3.       Authorize the Debtor to execute all documents and to take any action reasonably

 9 necessary to effectuate the Agreement; and

10            4.       For such other and further relief as the Court may deem just and proper.

11

12 DATED: July 5, 2022                            DANNING, GILL, ISRAEL & KRASNOFF, LLP

13

14
                                                  By:          /s/ Alphamorlai L. Kebeh
15                                                      ALPHAMORLAI L. KEBEH
                                                        Attorneys for Proposed General Bankruptcy
16                                                      Counsel for Jinzheng Group (USA) LLC, Debtor
                                                        in Possession
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 1                                  DECLARATION OF ZHAO PU YANG
 2            I, Zhao Pu Yang, declare as follows:

 3            1.       I am the Attorney in Fact for Jianqing Yang, Managing Member of Jinzheng Group

 4 (USA) LLC. I am also the son of Jianqing Yang.

 5            2.       Unless stated otherwise, all facts in this declaration are based upon my personal

 6 knowledge, my discussions with Debtor’s former management, Debtor’s counsel or my personal

 7 advisors or counsel, my review of documents and information concerning the Debtor’s business,

 8 and/or my personal opinion based upon my experience and general knowledge about the Debtor.

 9            3.       I am over the age of 18 and am authorized to submit this declaration on behalf of the

10 Debtor. If called to testify, I would testify to the matters set forth in this declaration.

11            4.       I submit my declaration in support of the Debtor’s Notice of Motion and Motion for

12 Order Approving Compromise Between Debtor and 150 La Sierra LLC (the “Motion”).

13            5.       To resolve the dispute between the Debtor and 150 La Sierra LLC, I have executed

14 the agreement attached hereto as Exhibit “1” which, subject to Court approval, includes the

15 following terms:

16                     a.     Right, title, and interest to 150 East La Sierra Drive, Arcadia, CA 91006 (the

17 “Property”) shall be transferred from La Sierra to the Debtor effective immediately upon the

18 Court’s entry of an order granting this Motion;

19                     b.     The transfer described in paragraph 1 shall be without prejudice to the rights

20 of any creditors of La Sierra or any lienholders in the Property;

21                     c.     If the Debtor’s bankruptcy case is dismissed prior to the sale of the Property,

22 the Property shall revert to La Sierra; and

23                     d.     The Debtor shall release La Sierra, and no other party, from liability for

24 avoidance, recover and turnover of transfers under sections 542, 544, 547, 548 and 550 of the

25 Bankruptcy Code and applicable state law, which releases shall be withdrawn in the event of a

26 dismissal and reversion.

27            6.       I believe that approval of the proposed agreement is likely the only way to recover

28 the Property in time and bring money into the estate from this asset. In my business judgment, I

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 1 believe that the proposed agreement is fair and reasonable, and is in the best interest of the estate

 2 and its creditors.

 3            7.       I respectfully request that the Court approve the Agreement.

 4            I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and correct.

 6            Executed at Los Angeles, California on July 5, 2022.

 7

 8 DATED: July 5, 2022

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10
                                                  By:
11                                                      ZHAO PU YANG

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 1                                 DECLARATION OF ZEV SHECHTMAN
 2            I, Zev Shechtman, declare as follows:

 3            1.       I am an attorney duly admitted to practice before this Court. I am the principal of a

 4 professional corporation that is a partner of Danning, Gill, Israel & Krasnoff, LLP, attorneys of

 5 record for Proposed General Bankruptcy Counsel for Jinzheng Group (USA) LLC, Debtor in

 6 Possession.

 7            2.       I have personal knowledge of the facts set forth herein, and if called as a witness, I

 8 could and would competently testify thereto.

 9            3.       I make this declaration in support of Debtor’s Motion for Order Approving

10 Compromise Between Debtor and 150 Sierra LLC.

11            4.       On or about June 16, 2022, I sent an email to Sound Equity Inc. (“Sound”), asking

12 that it postpone foreclosure while a sale of 150 East La Sierra Drive, Arcadia, CA 91006 (the

13 “Property”) is attempted. Sound declined that request.

14            5.       I am informed that Sound (or another party on behalf of Sound) recorded its notice

15 of default on or about April 5, 2022. Based on my understanding of applicable procedures,

16 including asking the foreclosure trustee appointed by Sound, I am informed and believe that a

17 foreclosure on the Property by Sound may be possible on or after August 3, 2022.

18            6.       I requested a payoff demand from Sound. The payoff demand is attached as Exhibit

19 “7.” Sound also informed me that there is a holdback of certain sums from the original loan, that

20 would have been available for construction absent default, but I have not yet been told that amount.

21            7.       On or about July 1, 2022, I informed Sound, as well as counsel for The Code

22 Solution LLC, and counsel for the Creditors’ Committee that the Debtor intended to file a motion

23 on shortened time to approve a compromise that would include a transfer of the Property to the

24 Debtor. On July 2, 2022, I sent an email to the parties stating that the Debtor would be seeking to

25 have the motion heard on July 19, 2022, at 11:00 a.m.

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 1            8.       I expect that after the Property is transferred to the Debtor, and once the Debtor’s

 2 real estate agents identify a stalking horse bidder, the Debtor will file a motion to approve a sale

 3 under section 363 of the Bankruptcy Code with opportunities for overbidding.

 4

 5            I declare under penalty of perjury under the laws of the United States of America that the

 6 foregoing is true and correct.

 7            Executed on this 5th day of July, 2022, at Los Angeles, California.

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                                                           Zev Shechtman
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 1                                   REQUEST FOR JUDICIAL NOTICE
 2            Jinzheng Group (USA) LLC (the “Debtor”), respectfully requests that the Court take

 3 judicial notice of the following facts:

 4            1.       On August 24, 2021 (the “Petition Date”), Jinzheng Group (USA) LLC (the

 5 “Debtor”), filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

 6            2.       Attached hereto as Exhibit “2” is a copy of 150 Sierra LLC’s (“Sierra”) Articles of

 7 Organization, filed with the Secretary of State of the State of California, document number

 8 201935810426.

 9            3.       Attached hereto as Exhibit “3” is copy of a document titled “Grant Deed” recorded

10 in the County Recorder’s Office as instrument 20200086210.

11            4.       Attached hereto as Exhibit “4” is copy of a document titled “Deed of Trust”

12 recorded in the County Recorder’s Office as instrument 20200086211.

13            5.       Attached hereto as Exhibit “5” is copy of a document titled “Assignment of Deed of

14 Trust” recorded in the County Recorder’s Office as instrument 20220373976.

15            6.       Attached hereto as Exhibit “6” is copy of a document titled “Notice of Default and

16 Election to Sell Under Deed of Trust” recorded in the County Recorder’s Office as instrument

17 20220373978.

18            7.       On May 4, 2020, the Debtor filed its Debtor’s Combined Plan of Reorganization

19 and Disclosure Statement Dated May 4, 2022 (docket no. 204) (the “Plan and Disclosure

20 Statement”).

21

22 DATED: July 5, 2022                            DANNING, GILL, ISRAEL & KRASNOFF, LLP

23

24
                                                  By:          /s/ Alphamorlai L. Kebeh
25                                                      ALPHAMORLAI L. KEBEH
                                                        Attorneys for Proposed General Bankruptcy
26                                                      Counsel for Jinzheng Group (USA) LLC, Debtor
                                                        in Possession
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                               EXHIBIT 1
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                                      Settlement Agreement

       This settlement agreement (“Agreement”) is entered on July 5, 2022, by and between
Jinzheng Group (USA) LLC (“Debtor”), as debtor and debtor in possession in the United States
Bankruptcy Court for the Central District of California (the “Court”), on the one hand, and 150
La Sierra LLC (“La Sierra”), on the other hand.



                                              Recitals

        A.       The Debtor is the managing member of La Sierra and has authority to enter into
agreements and sign documents on its behalf. The Debtor believes that it likely has cause to
bring one or more claims for avoidable transfer against La Sierra in connection with the transfer
from the Debtor to La Sierra, the Debtor’s interest in real property located at 150 East La Sierra
Drive, Arcadia, CA 91006 (the “Property”). The Debtor has not completed its investigation of
its claims against La Sierra. However, the secured creditor on the Property will foreclose on the
Property as early as after August 3, 2022 absent action taken by the Debtor or La Sierra to
prevent foreclosure. Accordingly, the Debtor and La Sierra have determined that the dispute
regarding the transfer of the Property must be resolved on an expedited basis, to preserve the
interest in the Property, with notice given to parties in interest. Accordingly, the Debtor and La
Sierra enter into this Agreement.

                                          The Agreement

       This Agreement, and every term hereof, is subject to the prior approval of the Court,
absent which, none of the terms of this Agreement shall be of any effect. Conditioned on the
approval of the Court:

        1.     Right, title, and interest in and to the Property shall be transferred from La Sierra
to the Debtor effective immediately upon the Court’s entry of an order granting a motion
approving this Agreement.

       2.      The transfer described in paragraph 1 shall be without prejudice to the rights of
any creditors of La Sierra or any lienholders in the Property.

       3.       If the Debtor’s bankruptcy case is dismissed prior to the sale of the Property, the
Property shall revert to La Sierra.

         4.      Conditioned on the transfer from La Sierra contemplated herein being approved
and remaining effective, the Debtor shall release La Sierra, and no other party, from any further
liability for avoidance, recovery and turnover of transfers or the Property under sections 542,
544, 547, 548 and 550 of the Bankruptcy Code and applicable state law. Such releases shall be
withdrawn and automatically void in the event of a dismissal of the Debtor’s bankruptcy case
and reversion prior to the a sale of the Property, as provided in paragraph 3.

        There are no other terms to the Agreement, unless otherwise agreed to by the parties
hereto in writing and ordered by the Court.


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         Agreed

         Jinzheng Group (USA) LLC

         By _______________________

         Zhou Pu Yang, as attorney in fact for its managing member, Jianqing Yang



         Agreed

         150 La Sierra LLC

         By _______________________

         Jinzheng Group (USA) LLC its managing member, by Zhou Pu Yang, as attorney in
         fact for Jianqing Yang, its managing member




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                 California Secretary of State
                 


                                         150 LA SIERRA LLC



                               201935810426
                                           12/18/2019
                                        
                                       

  
                                             150 LA SIERRA LLC



 
                                800 West 6th Street
        
                                                           Los Angeles, California 90017
                                                           United States

                                 800 West 6th Street
                                                           Los Angeles, California 90017
                                                           United States
                            JONATHAN PAE
                                                           800 West 6th Street
                                                           Los Angeles California 90017
                                                           United States
                                    More than One Manager
                                       
                                                                
                                                            
                                                            
                                                            
                                                            



                                                JONATHAN PAE


           Use bizfile.sos.ca.gov for online filings, searches, business records, and resources. 
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                               EXHIBIT 3
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                               EXHIBIT 6
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                               EXHIBIT 8
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 1 ZEV SHECHTMAN (State Bar No. 266280)
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 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
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 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 Attorneys for Proposed General Bankruptcy
   Counsel for Jinzheng Group (USA) LLC, Debtor
 7 in Possession

 8                                UNITED STATES BANKRUPTCY COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                         LOS ANGELES DIVISION
11

12 In re                                                      Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                                  Chapter 11

14                     Debtor and Debtor-in-                  ORDER APPROVING COMPROMISE
                       Possession.                            BETWEEN DEBTOR AND 150 LA
15                                                            SIERRA, LLC
16                                                            Hearing Date:
                                                              Date:    July __, 2022
17                                                            Time:    __:__ a.m.
                                                              Crtrm.: Courtroom 1568
18                                                                     255 E. Temple Street
                                                                       Los Angeles, California 90012
19

20            On July __, 2022, at __:__ a.m., there came before the Court for hearing Jinzheng Group

21 (USA) LLC’s Motion or Order Approving Compromise Between Debtor and 150 La Sierra LLC

22 (docket no.__) (the “Motion”), filed by Jinzheng Group (USA) LLC (the “Debtor”), the Honorable

23 Ernest Robles, United States Bankruptcy Judge, presiding. Appearances were made as stated on

24 the record. The Court, having read and considered the Motion and pleadings and evidence offered

25 in support thereof; having found that notice of the Motion and the hearing thereon were adequate

26 and proper; with good cause shown; it is hereby

27            ORDERED THAT:

28            1.       The Motion is granted in its entirety.

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 1            2.       The Agreement is approved.

 2            3.       150 La Sierra LLC’s right, title, and interest in real property located at 150 East La

 3 Sierra Drive, Arcadia, CA 91006 (the “Property”) is hereby immediately transferred and assigned

 4 to the Debtor.

 5            4.       The Debtor is authorized to execute all documents and otherwise take all actions he

 6 deems necessary and appropriate to effectuate the Agreement.

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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF MOTION AND MOTION
FOR ORDER APPROVING COMPROMISE BETWEEN DEBTOR AND 150 LA SIERRA LLC; MEMORANDUM OF
POINTS AND AUTHORITIES, DECLARATIONS OF ZHAO PU YANG, ZEV SHECHTMAN, STEPHEN ENG, AND
REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) July 5, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On July 5, 2022 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY EMAIL: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 5, 2022, I served the following
persons and/or entities by email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Sound Equity
Paul Leeds, Esq.                pleeds@fsl.law
Julie Williams:                juliew@soundcapital.com

                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  July 5, 2022                            Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)


Donna C Bullock on behalf of Interested Party Donna Bullock Carrera
donnabullockcarrera@yahoo.com, donna.bullock@ymail.com

Steven P Chang on behalf of Interested Party Courtesy NEF
heidi@spclawoffice.com,
schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincom
pass.com;changsr75251@notify.bestcase.com

Michael F Chekian on behalf of Creditor The Phalanx Group
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Michael F Chekian on behalf of Interested Party Chekian Law Office, Inc.
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Susan Titus Collins on behalf of Interested Party INTERESTED PARTY
scollins@counsel.lacounty.gov

Jeffrey W Dulberg on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED
CREDITORS
jdulberg@pszjlaw.com

Oscar Estrada on behalf of Creditor LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
oestrada@ttc.lacounty.gov

Richard Girgado on behalf of Interested Party Courtesy NEF                               rgirgado@counsel.lacounty.gov

M. Jonathan Hayes on behalf of Interested Party Courtesy NEF
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roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.co
m;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com

Teddy M Kapur on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED
CREDITORS
tkapur@pszjlaw.com, mdj@pszjlaw.com

Peter A Kim on behalf of Attorney LAW OFFICES OF PETER KIM
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Betula Lenta Inc                            peter@pkimlaw.com,
peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant David Park                       peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Jonathan Pae peter@pkimlaw.com, peterandrewkim@yahoo.com


       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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Christopher J Langley on behalf of Debtor JINZHENG GROUP (USA) LLC
chris@slclawoffice.com,
omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

Christopher J Langley on behalf of Plaintiff JINZHENG GROUP (USA) LLC
chris@slclawoffice.com,
omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

Benjamin R Levinson, ESQ on behalf of Creditor Michael E. Dorff and Shari L. Dorff
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Eric A Mitnick on behalf of Interested Party Courtesy NEF
MitnickLaw@aol.com, mitnicklaw@gmail.com

Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
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law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase
.com

Donald W Reid on behalf of Interested Party INTERESTED PARTY
don@donreidlaw.com, ecf@donreidlaw.com

Matthew D. Resnik on behalf of Attorney Matthew Resnik
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roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.c
om;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.c
om

Matthew D. Resnik on behalf of Creditor Royalty Equity Lending, LLC/Bobs LLC
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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER        Doc 278 Filed 07/05/22 Entered 07/05/22 16:49:21                                                   Desc
                                   Main Document    Page 60 of 60
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2. SERVED BY U.S. MAIL

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1414 S Azusa Ave, Suite B-22                   U.S. Bankruptcy Court
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                                               Los Angeles, CA 90012


                                 COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS

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